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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                         CHARLESTON DIVISION

B.P.J., by her next friend and mother,
HEATHER JACKSON
                                  Plaintiff,
     v.
WEST VIRGINIA STATE BOARD OF
EDUCATION, HARRISON COUNTY BOARD                 Case No. 2:21-cv-00316
OF      EDUCATION,     WEST     VIRGINIA
SECONDARY         SCHOOL     ACTIVITIES
COMMISSION, W. CLAYTON BURCH in his             Hon. Joseph R. Goodwin
official capacity as State Superintendent,
DORA STUTLER in her official capacity as
Harrison County Superintendent, and THE        Oral Argument Requested
STATE OF WEST VIRGINIA
                               Defendants,
     and
LAINEY ARMISTEAD
                      Defendant-Intervenor.

DEFENDANT-INTERVENOR’S MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY
                            JUDGMENT
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                                     INTRODUCTION
   Last month in an Atlanta swimming pool, Lia Thomas won the women’s 500-yard

freestyle at the NCAA Swimming and Diving Championships. Some cheered. Others

booed. But one thing is not up for debate. Fifteen women were bumped down the

scoreboard that day.1 And some women didn’t get to compete in the finals at all. Their

hard work was sacrificed in the name of “progress.”

   That event encapsulates the ongoing national debate about women’s sports. On

one side, some policymakers have allowed males who identify as female to compete

on women’s sports teams. That has led to women and girls losing championship titles,

medals, and the opportunity to compete in the sports they love. In contrast, West

Virginia passed its Sports Act (W. Va. Code § 18-2-25d) and drew a line based on

biology rather than identity, hormone levels, athletic ability, or countless other

options. It did so for a simple reason. It wanted to protect the opportunities for

biological women to compete and excel in sports. That is a valid way to achieve a valid

goal. After all, the “physical differences between men and women … are enduring:

the two sexes are not fungible.” United States v. Virginia, 518 U.S. 515, 533 (1996)

(cleaned-up). And this distinction is an “immutable” one, “determined solely by the

accident of birth.” Frontiero v. Richardson, 411 U.S. 677, 686 (1973).

   In fact, even Plaintiff B.P.J. agrees that sex-separate teams are valid most of the

time. West Virginia, for example, can exclude men who identify as men from women’s

sports even if they are smaller, slower, weaker or have lower hormone levels than

female competitors. That concession is decisive. It proves that sex-separate teams

aren’t based on stereotypes, prejudice, or ungrounded fears of the unknown. And it

shows that laws making distinctions between the sexes don’t have to be perfect in


1 This brief uses the terms ‘women,’ ‘girls,’ and ‘females’ to refer to biological

females and the terms ‘men,’ ‘boys,’ and ‘males’ to refer to biological males. It
further uses the terms “sex,” “gender,” and “gender identity” as set forth in Doe ex
rel. Doe v. Boyertown Area Sch. Dist., 897 F.3d 518, 522 (3d Cir. 2018).


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every application. Instead, laws can protect female athletes—like Intervenor Lainey

Armistead—from competition against males who are on average bigger, faster, and

stronger, regardless of athletic ability, gender identity, or hormone levels. Because

biological distinctions in sports generally make sense, this Court should grant

Armistead and Defendants summary judgment.

                           SUMMARY STATEMENT OF FACTS
   The displacement of women and girls in sports. Across the country, male athletes

who identify as female have increasingly competed in women’s sports and displaced

female competitors.

   For example, from 2017–2020, two male athletes in Connecticut won a combined

15 state championships in women’s track and set 17 individual records. Def.-

Intervenor’s App. in Supp. of Mot. for Summ. J. (“App.”) 37 (¶ 25); 43 (¶22). Chelsea

Mitchell lost to these males on more than twenty different occasions. App. 12 (¶ 14).

Alanna Smith lost to them on three different occasions. App. 36–37 (¶¶ 16–24). And

Selina Soule lost to them on at least four occasions. App. 42–43 (¶¶ 18–21). For Selina,

the experience was “demoralizing.” App. 43 (¶ 23). Alanna “felt defeated before [she]

even got set in [her] blocks.” App. 36 (¶ 19). And when Chelsea’s mother complained,

school and state officials repeatedly told her that “girls have the right to participate,

not to win.” App. 29 (¶ 41).

   In Hawaii, a “male athlete dominated … varsity girls’ volleyball in the 2019–20

season” on the island of Maui. App. 52 (¶ 23). Female players were “nervous and

intimidated,” and “would often ‘duck and cover’ or assume a defensive position rather

than prepare to respond to his spikes” because they were “afraid of getting hurt.”

(¶ 24) Girls competing against the male athlete “felt demoralized,” and “wondered

why they should even bother playing … because they knew the male athlete’s team

would beat them.” (¶ 24). The same male athlete also competed in track, where one




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female athlete said she was going to quit after the male athlete raced in her event.

App. 57 (¶ 19).

   Male athletes have similarly displaced females at the collegiate level. In 2018,

CeCe Telfer competed on the Franklin Pierce University’s women’s track team after

previously competing on the men’s team. App. 162 (¶ 135). That year, Telfer won an

NCAA championship after placing first in the women’s 400-meter hurdles. App. 81.

Telfer also placed fifth in the women’s 100-meter hurdles. Id. Telfer never previously

made it to a championship event while competing for the men’s team. App. 162 (¶135).

   June Eastwood competed for the University of Montana’s men’s cross country and

track teams for three seasons before switching to the women’s teams in 2019. App.

61 (¶ 14), 72 (¶ 15); see also Hecox v. Little, 479 F. Supp. 3d 930, 979 (D. Idaho 2020)

(discussing proposed intervenor June Eastwood). Athletes like Madison Kenyon,

Mary Marshall, and Haley Tanne, lost to Eastwood on nine different occasions

combined. App. 61–62 (¶¶ 15–21), 67 (¶ 11), 73 (¶ 16). Then Eastwood won the

women’s mile at the 2020 Big Sky Championship meet. App. 83. For these women

athletes, the experience was “deflating,” “discouraging,” “frustrating,” and left them

feeling “defeated.” App. 61 (¶ 17), 62 (¶ 18), 67 (¶ 13), 73 (¶ 21). For female athlete

Linnea Saltz it was “mentally exhausting to anticipate racing a male athlete with all

the advantages of male puberty.” App. 78 (¶ 16).

   And as noted above, Lia Thomas is a male swimmer on the University of

Pennsylvania women’s swim team. App. 164 (¶ 137); 545–46 (212:14–214:6). Thomas

recently set two Ivy League records, App. 97, 103, and became an NCAA champion in




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the 500-yard freestyle, App. 110, beating two Olympic champions in the same race.2

The NCAA simultaneously allows females who identify as male to “participate on a

men’s or women’s team” so long as they are “not taking testosterone related to gender

transition.”3 This allowed Iszac Henig, a female who identifies as male, to compete at

the same NCAA championships as Lia Thomas.4 App. 114.

   There have been similar stories of males displacing females across the country

and even the entire world.5 And the West Virginia legislature can “rely on the

experiences of other jurisdictions” to craft its own legislation. Imaginary Images, Inc.

v. Evans, 612 F.3d 736, 742 (4th Cir. 2010); see also City of Renton v. Playtime




2 Both Emma Weyant and Erica Sullivan won individual medals in the Tokyo 2020

Olympic games. See International Olympic Committee, Tokyo 2020 Swimming
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3 2010 NCAA Policy on Transgender Student-Athlete Participation,

https://ncaaorg.s3.amazonaws.com/inclusion/lgbtq/INC_TransgenderStudentAthlete
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4 See Tigerlily Hopson & Toia Conde Rodrigues da Cunha, Swimming & Diving: ‘It

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5 See, e.g., App. 131 (¶ 20); Chuck Culpepper, New Zealand weightlifter Laurel

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Theatres, Inc., 475 U.S. 41, 51–52 (1986) (locality could “rely on the experiences of …

other cities … in enacting its adult theater zoning ordinance”).

   The West Virginia Secondary School Activities Commission proposes a policy to

promote fairness in sports. Before 2016, West Virginia officials attended national

athletic meets and learned that males competing in women’s sports “was an issue.”

App. 1097 (118:18–20). In response, officials formulated a policy “to protect athletes

from harm or unfairness because of physical abilities.” App. 1096 (117:12–14). That

policy, which was never adopted as a rule, required schools to evaluate athletes case-

by-case to decide whether they could participate on girls’ teams. App. 1098 (122:4–

124:19).

   Some male students have also asked to participate on girls’ teams in West

Virginia. One boy asked to play on a girls’ volleyball team, and when the school said

it was for girls only, he responded: “[t]hen … I’ll be a girl.” App. 1097 (120:20–23).

Another student who wanted to participate in sports “one day … identified as a girl,

next day a boy, and back and forth.” Id. (121:3–6)

   West Virginia passes the Sports Act and B.P.J. sues. In 2021, West Virginia passed

HB 3293 which requires public schools to designate sports teams “based on biological

sex,” defined as an “individual’s physical form as a male or female based solely on the

individual’s reproductive biology and genetics at birth.” § 18-2-25d(b)(1), (c)(1). It also

requires that teams “designated for females, women, or girls shall not be open to

students of the male sex where selection for such teams is based upon competitive

skill or the activity involved is a contact sport.” Id. at (c)(2).

   Shortly before the Act became effective, B.P.J. sued. B.P.J. is an 11-year-old

biological male who identifies as a girl. First Am. Compl. ¶¶ 1–2 (“Compl.”) (Doc. 64);

App. 1440–41 (B.P.J. admitting B.P.J. has “XY chromosomes” and “internal and

external reproductive organs … typical of the male sex”). In July, this Court issued a

preliminary injunction against enforcing HB 3293 against B.P.J., who then competed


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on the Bridgeport middle school’s cross-country team as a sixth grader this past fall.

At one invitational, B.P.J. placed “51 out of 66 competitors,” beating two Bridgeport

teammates. App. 1512.6 B.P.J. placed “123 out of 150 competitors” at another meet,

beating three Bridgeport teammates. App. 1513.7 B.P.J. beat older competitors who

were two grades above B.P.J. at both of these events, and B.P.J. beat competitors at

other invitationals too. App. 1542–43.8

    Lainey Armistead intervenes. Lainey Armistead is a 22-year-old soccer player at

West Virginia State University who intervened in this case in late 2021. App. 1

(¶¶ 1–2) Soccer is her “passion and life-defining pursuit,” and she has won state and

national championships since she was nine years old. (¶¶ 2, 6).

    Armistead “know[s] from experience in friendly competitions against men that

facing a male in a soccer game changes the entire dynamics on the field and poses not

just fairness but safety concerns, as well.” (¶ 38). For example, during pick-up soccer

games she has witnessed that men “compete at a faster pace,” “kick the ball harder,”

and “have physical frames that are generally larger.” (¶ 31). If she had to seriously

compete against male athletes, she “would be more worried about being injured by a

male than a female competitor in a game in which players are trying their hardest to

win.” (¶ 32). She also wants women to have real opportunities to win, and “fear[s]

that girls in the future might consider not playing at all if they feel they cannot win

against a physically superior male.” (¶ 46).




6 Meet results available under “Regular Season Results” at:
http://runwv.com/CC21/CCIndex.html (Mountain Holler Invitational, Sept. 2, 2021).

7 Id. (Doddridge Invitational – MS Girls, Sept. 16, 2021).


8 Id. (Braxton Invitational – MS Girls, Sept. 25, 2021)



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                                       ARGUMENT
     Armistead deserves summary judgment because B.P.J.’s claims fail “as a matter

of law” and there is “no genuine dispute as to any material fact.” Fed. R. Civ. P. 56(a).

The Sports Act does not violate (I) Equal Protection or (II) Title IX.

I.    The Act does not violate Equal Protection
     “An equal protection claim involves two basic analytical steps.” Sansotta v. Town

of Nags Head, 724 F.3d 533, 542 (4th Cir. 2013). First, the plaintiff must show that

the state treated similarly situated persons differently because of an invidious

discriminatory purpose. Id. If “a plaintiff has met this burden, then the court proceeds

to determine whether the disparity in treatment can be justified under the requisite

level of scrutiny.” Id. (citations omitted)

     The Act does not violate Equal Protection: (A) it draws lawful distinctions based

on sex because sex matters in sports while (B) gender identity does not. So the Act

legitimately protects biological females from competition against males; (C) the Act

can be applied to B.P.J., regardless of B.P.J.’s physiology or gender identity; and (D)

the Act does not invidiously discriminate based on gender identity.

        A.    The Act draws permissible distinctions based on sex because
              biological sex matters in sports.
     “The core concern of the Equal Protection Clause [is] as a shield against arbitrary

classifications.” Engquist v. Or. Dep’t of Agric., 553 U.S. 591, 598 (2008). “The proper

classification for purposes of equal protection analysis … must begin with the

statutory classification itself.” Califano v. Boles, 443 U.S. 282, 293–94 (1979).

     Here, the Act facially draws a biology-based distinction by requiring schools to

separate sports teams “based on biological sex.” W. Va. Code § 18-2-25d. Teams for

females “shall not be open to students of the male sex where selection for such teams

is based upon competitive skill or the activity involved is a contact sport.” Id. at (c)(2).

But teams for males may be open to anyone. Id. at (c)(3).




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   Equal Protection does not make sex “a proscribed classification.” United States v.

Virginia, 518 U.S. 515, 533 (1996). “A community made up exclusively of one sex is

different from a community composed of both.” Id. (cleaned up). And West Virginia

need only show “that the classification serves important governmental objectives”

and that the “means employed are substantially related to the achievement of those

objectives” to show that the classification is valid. Miss. Univ. for Women v. Hogan,

458 U.S. 718, 724 (1982) (internal quotation marks omitted).

   The state can do so here. The Supreme Court “has consistently upheld statutes

where the gender classification is not invidious, but rather realistically reflects the

fact that the sexes are not similarly situated in certain circumstances.” Michael M. v.

Superior Ct. of Sonoma Cnty., 450 U.S. 464, 469 (1981) (plurality opinion). For

example, laws may penalize just males for having sex with underage females because

of the risks of pregnancy. Id. at 471–73. And laws can impose “a different set of rules”

to prove biological parenthood “with respect to fathers and mothers,” because of “the

unique relationship of the mother to the event of birth.” Tuan Anh Nguyen v. I.N.S.,

533 U.S. 53, 63–64 (2001).

   In the context of sports too, “[t]he difference between men and women … is a real

one.” Id. at 73. “[D]ue to average physiological differences, males would displace

females to a substantial extent if they were allowed to compete” for the same teams.

Clark, By and Through Clark v. Ariz. Interscholastic Ass’n (Clark I), 695 F.2d 1126,

1131 (9th Cir. 1982). Indeed, “the great bulk of the females would quickly be

eliminated from participation and denied any meaningful opportunity for athletic

involvement,” without distinct teams. Cape v. Tenn. Secondary Sch. Athletic Ass’n,

563 F.2d 793, 795 (6th Cir. 1977). “[C]ommon sense and the holdings of prior cases

[are] sufficient to establish” the government’s interest in protecting athletic

opportunities for biological females, and “it is obvious” that prohibiting males from




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participating on women’s teams furthers that interest. Billups v. City of Charleston,

961 F.3d 673, 685 (4th Cir. 2020).

   These differences also matter for safety. For example, “[m]ales are, on average,

larger and heavier” than women, so “males bring more kinetic energy into collisions

… creating heightened injury risk for impacted females.” App. 252 (¶ 88). That’s why

World Rugby recently issued guidelines excluding biological males from women’s

rugby because of the injury risk to females.9 “[I]f men and women were to consistently

participate together in competitive contact sports, there would be higher rates of

injury in women.” App. 225 (¶ 42).

   B.P.J. doesn’t dispute that it’s acceptable for males and females to compete

separately, or that West Virginia can validly prohibit men who identify as men from

women’s teams. In fact, B.P.J. believes that the “only way” for girls to “experience the

benefits associated with sex-separated school athletics—or to participate in school

athletics at all—is … to participate on the same teams as other girls.” Compl. ¶ 39.

This concession proves that West Virginia’s law is constitutional in many applications

and therefore facially valid. It also proves the Act doesn’t discriminate based on “sex

stereotypes” or “for gender non-conformity.” Grimm v. Gloucester Cnty. Sch. Bd., 972

F.3d 586, 608 (4th Cir. 2020), as amended (Aug. 28, 2020). Everyone agrees that men

and adolescent boys have physiological advantages “in almost all athletic events” over

women and adolescent girls who are “equally aged, gifted, and trained.” App. 124; see

also App. 619 (19:4–8)10. So sex-separated teams are “based on the[se] innate physical


9 World Rugby, Transgender Women Guidelines, https://www.world.rugby/the-

game/player-welfare/guidelines/transgender/women [permalink:
https://perma.cc/HP6H-6NCV].

10 See also App. 1535 for clarification that Dr. Safer’s statement should read: “I

accept as fact that men and boys who are appropriately developed have . . . better
performance outcomes in certain sports than do cisgender women and cisgender
girls again appropriately developed.” (emphasis added).


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differences between the sexes, rather than on generalizations that are ‘archaic’ or

attitudes of romantic paternalism.” Clark I, 695 F.2d at 1130 (cleaned up) (quoting

Petrie v. Ill. High Sch. Ass’n, 394 N.E.2d 855, 862 (1979)).

   Far from being the exception, West Virginia’s law is part of a “long-standing

tradition in sports of setting up classifications whereby persons having objectively

measured characteristics likely to make them more proficient are eliminated from

certain classes of competition.” Petrie, 394 N.E.2d at 861. Heavyweight boxers or

wrestlers can’t compete in lighter weight classes, and high school seniors can’t

compete on teams reserved for freshman. See id. “There is no stigma attached to a

person eliminated by this system from competing in a class in which that person

might have undue advantage.” Id. at 861–62 (emphasis added).

      B.     The Act protects only biological females from competition
             against males because sex matters in sports while gender
             identity does not.
   Although B.P.J. alleges that B.P.J. and other “[g]irls who are transgender are

similarly situated to cisgender girls … for purposes of participating on sex-separated

school athletic teams,” (Compl. ¶ 39), this assertion does not change biological fact.

Gender identity alone doesn’t make B.P.J. similar to female athletes.

   To be similarly situated under the Equal Protection Clause, a person must be

“similar in all aspects relevant to attaining the legitimate objectives of legislation.”

Van Der Linde Hous., Inc. v. Rivanna Solid Waste Auth., 507 F.3d 290, 293 (4th Cir.

2007). “[W]hat is different and what is the same” depends on “the nature of the

problem.” Plyler v. Doe, 457 U.S. 202, 216 (1982) (cleaned up). So “retired Maryland

law enforcement officers are not similarly situated to the general public” when it

comes to firearm restrictions that aim to promote public safety. Kolbe v. Hogan, 849

F.3d 114, 147 (4th Cir. 2017). And women aren’t similarly situated to men with

respect to nudity ordinances that aim to protect “public sensibilities.” Eline v. Town

of Ocean City, 7 F.4th 214, 224 (4th Cir. 2021).


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   West Virginia’s objective was to promote “equal athletic opportunities for the

female sex.” § 18-2-25(d)(a)(5). So instead of classifying athletes according to their

hormone levels, gender identity, or athletic ability, the state drew a simple line based

on biology to ensure males could not displace females in sports involving competitive

skill or contact. Id.

   As already explained, “[t]here is no question” that promoting equal athletic

opportunities for women “is a legitimate and important governmental interest.”

Clark I, 695 F.2d at 1131. And “there is no question that the Supreme Court allows

for the[] average real differences between the sexes to be recognized or that they allow

gender”—meaning sex—“to be used as a proxy in this sense if it is an accurate proxy.”

Id. (emphasis added).

   This means B.P.J. can’t be similarly situated to females “in all aspects relevant to

attaining the legitimate objectives of” the Act because B.P.J. is a biological male. Van

Der Linde, 507 F.3d at 293. If B.P.J. or any other male were allowed to displace even

“one [female] player … the goal of equal participation by females in interscholastic

athletics is set back, not advanced.” Clark, By & Through Clark v. Ariz.

Interscholastic Ass’n (Clark II), 886 F.2d 1191, 1193 (9th Cir. 1989).

   B.P.J. simply “misconceives the nature of … the governmental interest at issue.”

Nguyen, 533 U.S. at 69. Instead of protecting fair competition for women according to

biology, B.P.J. demands that the state promote fair competition according to gender

identity.

   But remember, sex can “be used as a proxy” for athletic ability and performance,

“if it is an accurate proxy” for the “average real differences between the sexes.”

Clark I, 695 F.2d at 1131 (emphasis added); see Craig v. Boren, 429 U.S. 190, 204

(1976) (sex classification valid if “sex represents a legitimate, accurate proxy” for

permissible objective). Sex “is a biological concept,” which affects physiology. App. 772

(74:13–14); see also App. 126 (“every system in the body is influenced by sex”). But


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gender identity is the “‘deeply felt, inherent sense’ of one’s gender,” Mem. Op. & Order

2 n.1 (“Order”) (Doc. 67), which does not affect physiology. So sex influences how blood

vessels contract, but gender identity does not. App. 776 (91:11-15). And sex influences

post-puberty levels of circulating testosterone, but gender identity does not. “[G]ender

identity itself is not a useful indicator of athletic performance.” App. 656 (167:24–

168:1).

   That means a pure gender-identity classification doesn’t work in sports. “[H]ow

people understand, experience it, and express it can change over time,” App. 917

(49:22–23), like the high school male who “one day … identifie[s] as a girl, next day a

boy, and back and forth.” App. 1097 (121:3–5); see also App. 777 (95:3–4, 19–24)

(discussing Endocrine Society Guidelines reporting individuals who “experienc[e] a

continuous and rapid involuntary alternation between a male and female identity”).

This student’s gender identity might change, but absent medical intervention his

physiology won’t change.11 B.P.J. agrees: most high school males—even those who

identify as female—will have higher levels of circulating testosterone than an average

girl. App. 1478; 1481–1482. That testosterone gives males a significant athletic

advantage over females. App. 124, 158; see also App. 619 (19:4–8).

   But B.P.J.’s theory allows males who identify as female to compete in women’s

sports with no medical intervention, forcing female athletes to compete against males

that everyone agrees are, on average, bigger, faster, and stronger. See App. 1498

(conceding that males similar in age to B.P.J who identify as female but do not

undergo medical intervention “may not have the same sex-related physiological

characteristics associated with athletic performance relevant to running track or

cross-country as B.P.J.”). In fact, as B.P.J.’s experts concede, B.P.J.’s logic would

allow males who identify as male to participate in female sports too. See App. 627

11 And literature reveals that medical interventions like hormone suppression can

never fully eliminate men’s physiological advantages over women. App. 159–176.


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(51:18–19) (conceding that this logic suggests women’s leagues that admit males who

identify as female could become co-ed). B.P.J. may believe that competing against

males is a sacrifice women should endure. But “[a]s common sense would advise

against this, neither does the Constitution demand it.” Clark I, 695 F.2d at 1132.

Even the International Olympic Committee (“IOC”) and the NCAA do not allow all

males who identify as female to compete on women’s teams.12 Compl. ¶ 42. That just

underscores what everyone knows. Women’s sports cannot be separated based on

gender-identity alone.

   Indeed, if “[t]here are more genders than we understand, can conceptualize or can

count,” as B.P.J.’s doctor and experts assert, B.P.J never explains how schools can

practically separate sports teams based on gender identity. App. 1204 (63:14–15);

App. 1205 (64:2–4) (“I could probably list more than 27 [genders] myself.”); see also

App. 317 (¶ 102) (noting one study identified 72 genders). If gender identity “moves

… along the spectrum,” App. 810 (226:23–24), binary classifications are impossible.

What about children experiencing gender dysphoria, whose gender identity “changes

in the large majority of cases”?13 App. 400 (¶ 27). Can they participate on the boys’

team one day, switch to the girls’ team the next day, and then “back and forth”? App.

1097 (121:3–5). Or what about females who identify as male without medical


12 Even with the NCAA’s prescribed regimen of testosterone suppression, Lia

Thomas still managed to beat two Olympic champions in a single race. Since this
Court ruled on Plaintiff’s preliminary injunction though, both the NCAA and the
IOC organizations have abandoned their previous policies for a “sport-by-sport
approach” that will become effective later this year. NCAA Transgender Student-
Athlete Participation Policy, https://www.ncaa.org/sports/2022/1/27/transgender-
participation-policy.aspx [permalink: https://perma.cc/AV9C-EE4X] (last visited
April 21, 2022).

13 B.P.J.’s experts assert that a person’s gender identity is durable, but “how people

understand, experience it and express it can change over time.” App. 917 (49:21–
23); see also App. 794 (163:7–164:12). This is a difference without significance. Both
parties agree that a person’s asserted gender identity can change.


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intervention? Athletes like Iszac Henig continue to compete in women’s sports. But a

pure gender-identity classification would force Henig to compete in the men’s

category.

   As these examples show, B.P.J.’s theory isn’t rationally tied to promoting fairness.

Making distinctions based on biology is rational, however, given the average

physiological differences between men and women.

   And even if “specific athletic opportunities could be equalized more fully in a

number of ways,” that doesn’t invalidate West Virginia’s chosen method here. Clark I,

695 F.2d at 1131. Perhaps “participation could be limited on the basis of specific

physical characteristics other than sex.” Id. Perhaps participation by males “could be

allowed but only in limited numbers.” Id. Or perhaps the state could enact an

affirmative-action program to achieve “gender participation goals.” H.B. Rowe Co. v.

Tippett, 615 F.3d 233, 256 (4th Cir. 2010). “Instead, [West Virginia] enacted an easily

administered scheme to promote the different but still substantial interest of

ensuring” men could not displace women in competitive or contact sports. Nguyen,

533 U.S. at 69. And it’s acceptable that “the alternative chosen may not maximize

equality, and may represent trade-offs between equality and practicality.” Clark I,

695 F.2d at 1131–32; Nguyen, 533 U.S. at 69 (same); see also Petrie, 394 N.E.2d at 862

(classification based on physical parity “would be too difficult to devise”).

   Because male athletes who identify as female are not similarly situated to

biological females in athletics, B.P.J.’s Equal Protection claim must fail “for lack of

an initial showing that the [law] treats similarly situated persons differently.” Kolbe,

849 F.3d at 147; accord S&M Brands, Inc. v. Georgia ex rel. Carr, 925 F.3d 1198, 1203

(11th Cir. 2019) (“Our threshold inquiry in an Equal Protection case is whether the

plaintiff and the proposed comparator are similarly situated[.]”).




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      C.     West Virgina can constitutionally apply the Act to B.P.J. no
             matter B.P.J.’s physiology or gender identity or medical history.
   Because West Virginia can validly exclude males from women’s sport, the state

can validly apply its law to B.P.J. too. To be sure, B.P.J. objects that by suppressing

endogenous testosterone levels, B.P.J. will eliminate any athletic advantages over

biological females.14 But focusing on B.P.J.’s specific characteristics “misconceives …

the manner in which we examine statutes alleged to violate equal protection.”

Nguyen, 533 U.S. at 69.

   “In assessing an equal protection challenge, a court is called upon only to measure

the basic validity of the legislative classification.” Pers. Adm’r of Mass. v. Feeney, 442

U.S. 256, 272 (1979). That means this Court looks at “the particular classifications

being made,” and whether “that classification and the different treatment set forth

in the statute” substantially furthers the government’s interest. United States v.

Timms, 664 F.3d 436, 447–48 (4th Cir. 2012); accord Williams v. Sch. Dist. of

Bethlehem, 998 F.2d 168, 179 (3d Cir. 1993) (court examines “the relationship

between the classification and the government interest.”).

   That analysis does not turn on B.P.J.’s “individual characteristics.” Harley v.

Wilkinson, 988 F.3d 766, 769 (4th Cir. 2021). “The broad legislative classification

must be judged by reference to characteristics typical of the affected classes rather

than by focusing on selected, atypical examples.” Califano v. Jobst, 434 U.S. 47, 55

(1977).

   Justice Stevens applied this principle when a middle school girl sued to play on a

boys’ basketball team.15 O’Connor v. Bd. of Ed. of Sch. Dist. 23, 449 U.S. 1301, 1306

14 Armistead’s experts have established that these differences are significant and

can never be completely reversed through medical intervention. But Armistead
need not prove this to win her summary-judgment motion.

15 West Virginia’s law says nothing about that situation since it permits girls to

participate on boys’ teams. See O’Connor, 449 U.S. at 1306 n.4 (Stevens, J., in



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(1980) (Stevens, J., in chambers). The Equal Protection analysis there did not turn

on her individual circumstances or “the advantages she would gain from the higher

level of competition in the boys’ program.” Id. Instead, it turned on “whether it [was]

permissible for the defendants to structure their athletic programs by using sex as

one criterion for eligibility.” Id. The “general rule” cannot “be unconstitutional simply

because it appears arbitrary in an individual case.” Id.; O’Connor v. Bd. of Educ. of

Sch. Dist. No. 23, 645 F.2d 578, 581 (7th Cir. 1981) (adopting Justice Stevens’

reasoning).

   Cases applying intermediate scrutiny to gun restrictions prove the same point. A

gun law that distinguishes between retired police officers and the public is valid, even

though “individual officers might not have been properly trained on assault weapons.”

Kolbe, 849 F.3d at 147 n.18 (“[W]e must look at retired officers as a broader class.”).

And laws that prohibit domestic abusers from possessing firearms are also valid,

though “not every person who falls within … it would misuse a firearm … if permitted

to possess one.” United States v. Chapman, 666 F.3d 220, 231 (4th Cir. 2012); see also

United States v. Staten, 666 F.3d 154, 167 (4th Cir. 2011) (same).

   The same focus should apply in this case—to the class, not the individual. The

question is whether West Virginia can distinguish between females as a class and

males as a class, not whether the state can distinguish between females as a class

and males like B.P.J. Once again, B.P.J. seems to agree with the principle; B.P.J. just

prefers a different classification. B.P.J. wants everyone to participate on the team

that matches their gender identity alone, including male athletes with levels of

circulating testosterone typical of men. But B.P.J. cannot force the state to make this

judgment as a matter of constitutional requirement.



chambers) (explaining schools can require boys to compete against “talented girls
without reciprocal rights”).


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   Nor can B.P.J. avoid these principles by labeling this an as-applied challenge.

“[C]lassifying a lawsuit as facial or as-applied … does not speak at all to the

substantive rule of law necessary to establish a constitutional violation.” Bucklew v.

Precythe, 139 S. Ct. 1112, 1127 (2019). Under intermediate scrutiny, West Virginia

need not show that the Act is “capable of achieving its ultimate objective in every

instance.” Nguyen, 533 U.S. at 70. Indeed, if the law must be perfectly tailored to

B.P.J.’s circumstances, then this Court would be applying strict scrutiny, not

intermediate scrutiny, and this Court would need to invalidate all sex-separated

sports because girls’ and boys’ teams will never achieve perfect fairness or parity in

competition.

   So even though B.P.J. raises an as-applied challenge, the means-ends “fit needs

to be reasonable; a perfect fit is not required.” Staten, 666 F.3d at 162. And “in making

this determination,” the court need “not consider any individual characteristics of the

person raising the as-applied challenge.” Harley, 988 F.3d at 769 (citing Staten, 666

F.3d 464); accord Bonidy v. U.S. Postal Serv., 790 F.3d 1121, 1127 (10th Cir. 2015)

(explaining in an as-applied challenge that the post office “is not required to tailor its

safety regulations to the unique circumstances of each customer”).

   The fact that B.P.J. concedes the validity of “sex separation in sports” proves the

point and resolves this case. Some boys run slower than the average girl. App. 1442

(No. 7). Some boys have circulating testosterone levels similar to the average girl

because of medical conditions or medical interventions. App. 1448–1452 (Nos. 19–23);

1464–1465 (No. 41); 1466–1467 (No. 43); 1468–69 (No. 45). But B.P.J. agrees that

these boys still can’t compete on the girls’ cross-country team if they identify as boys.

App. 1452–1458 (Nos. 24–32); 1463–1469 (Nos. 40–45). “Like all systems of

classifications for competition,” sex separation “is overbroad and underbroad in that

it includes females who are athletically superior to many males and excludes males

who are less well-endowed athletically than most females.” Petrie, 394 N.E.2d at 862.


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   If the state can exclude males from girls’ sports when those males identify as male

and have similar athletic abilities as girls (group A), it must be permissible to exclude

males who identify as female and have similar athletic abilities as girls too (group B).

After all, both groups are similar to girls as to athletic ability. But letting group B

participate in girls’ sports while excluding group A would discriminate based solely

on gender identity—the very thing B.P.J. complains of. In this respect, B.P.J.’s

argument could be used by any male to challenge sex-based sports distinctions.

      D.        Because sex distinctions are valid in the sports context, Grimm
                doesn’t apply.
   B.P.J.’s concessions also show why Grimm doesn’t control this case.

   According to Grimm, a female student who “liv[ed] fully as a boy” was most

similarly situated to other boys when it came to promoting privacy in bathrooms.

Grimm, 972 F.3d at 593. And according to Grimm, separating bathrooms based on

biology “ignore[d] the reality of how a transgender child uses the bathroom: ‘by

entering a stall and closing the door.’” Id. at 613. Grimm then criticized the school

because it installed privacy strips in the boys’ bathroom and “could not identify any

other privacy concern” by letting the plaintiff use the boys’ bathroom. Id. at 614. So,

though the school had a legitimate interest in protecting privacy, Grimm faulted the

school for not furthering those interests through its sex-specific policy.16 Id. And that

made the school’s “privacy argument … sheer conjecture and abstraction.” Id.

(cleaned up).

   But privacy isn’t at stake here. After all, men and women regularly compete

together on coed leagues. Instead, displacement of females by males matters. B.P.J.

already agrees that sex-separate teams are generally valid. And that separation is

justified by the average physiological differences between males and females. See


16 Plus, the school in Grimm admitted that its policy “relie[d] solely on transgender

status.” Grimm, 972 F.3d at 609.


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supra § I.A. This makes biological sex relevant to promoting fairness in sports.

Gender identity is not. So “privileg[ing] sex” above an athlete’s “medically confirmed,

persistent and consistent gender identity” makes sense in this context. Grimm, 972

F.3d at 610.

   In fact, categorizing athletes based on gender identity requires officials to evaluate

whether athletes dress like a girl, live their life as a girl, or have “a name commonly

associated with girls,” Compl. ¶ 31, factors that inherently perpetuate “archaic and

stereotypic notions” about the sexes. Miss. Univ. for Women, 458 U.S. at 725. How

else will officials verify a student’s assertion about their gender identity? Even B.P.J.

agrees that gender-identity classifications bear “no legitimate relationship” to

promoting the state’s interest in fair competition for females. See Memo. in Supp. of

Pl.’s Mot. for. Prelim. Inj. 18 n.8 (Doc. 19) (quoting W. Va. Code § 18-2-25d). In fact,

these types of “overbroad generalizations about the different talents, capacities, or

preferences of males and females” are never valid reasons to draw distinctions.

Grimm, 972 F.3d at 635 (quoting Virginia, 518 U.S. at 533). They “rest on nothing

more than conventional notions about the proper station in society for males and

females.” Knussman v. Maryland, 272 F.3d 625, 636 (4th Cir. 2001).

      E.       The Act was not passed for an invidious discriminatory purpose.
   Although the Act is facially valid and does not improperly discriminate based on

sex, B.P.J. still argues that it discriminates against persons who identify as

transgender. But for facially neutral laws, courts conduct “a twofold inquiry.” Feeney,

442 U.S. at 274. “The first question is whether the statutory classification is indeed

neutral in the sense that” it is not “overtly or covertly designed to prefer” a certain

class. Id. at 273–74. “[T]he second question is whether the adverse effect reflects

invidious … discrimination.” Id. at 274.

   The Act’s sex-based classification is not a “covert” attempt to disfavor athletes

based on gender identity. A law that favors veterans doesn’t covertly favor men, even


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if veterans are 98% male. Id. at 270, 274. And a law that disfavors abortion doesn’t

covertly discriminate against women, even though only women can procure an

abortion. Bray v. Alexandria Women’s Health Clinic, 506 U.S. 263, 271 (1993)

(quoting Geduldig v. Aiello, 417 U.S. 484, 496 n.20 (1974)).17 Here, the Act limits half

the population: biological males. So there’s a stark “lack of identity” between the Act’s

sex-based classification and transgender persons. Geduldig, 417 U.S. at 496 n.20.

“Too many men are affected … to permit the inference that the statute is but a

pretext” for disfavoring transgender persons. Feeney, 442 U.S. at 275; see also

Geduldig, 417 U.S. at 496 n.20 (pregnancy distinction did not distinguish based on

sex because “nonpregnant” category “includes members of both sexes”). A disparate

impact simply isn’t enough to prove invidious discrimination.

   Neither is the Act “targeted at … girls who are transgender.” Compl. ¶ 46. “[T]he

Fourteenth Amendment guarantees equal laws, not equal results.” Feeney, 442 U.S.

at 273. So “uneven effects upon particular groups within a class are ordinarily of no

constitutional concern” unless there is “a reason to infer antipathy.” Id. at 271–72;

see also Bray, 506 U.S. at 272–73 (regulations “disfavoring… abortion” are “not ipso

facto sex discrimination”). And here, any disparate impact is “plausibly explained on

a neutral ground.” Feeney, 442 U.S. at 275. Sex-based distinctions necessarily overlap

a person’s gender identity or contradict it. So excluding males who identify as female

from women’s sports “is essentially an unavoidable consequence of a legislative policy

that has in itself always been deemed to be legitimate.” Id. at 279 n.25. That resolves

this question because the Act treats B.P.J. no different than other males, even if

(according to B.P.J.) it affects B.P.J. more than many males.




17 See also Austin v. Berryman, 955 F.2d 223, 227 (4th Cir. 1992) (law denying

unemployment benefits to persons who relocate with their spouse for work aren’t
gender based even though “women comprise[d] 86.8% of the injured class”).


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   Nor should this Court assume that all transgender persons desire to play on the

sports team that accords with their gender identity. “[T]he transgender community

is not a monolith in which every person wants to take steps necessary to live in accord

with his or her preferred gender (rather than his or her biological sex).” Doe 2 v.

Shanahan, 917 F.3d 694, 722 (D.C. Cir. 2019) (Williams, J., concurring); see also id.

at 701 (Wilkins, J., concurring) (same). Athletes like Iszac Henig compete at the

highest levels of collegiate women sports, even though Henig identifies as male. The

Act simply doesn’t target males who identify as female, even if some of them desire

to play on female teams.

   B.P.J.’s theory also produces seismic consequences. According to B.P.J., any law

in any context with a biology-based classification is unconstitutional because it will

always place persons who identify as transgender in the “wrong” category. But the

Supreme Court has said just the opposite and “consistently upheld statutes where

the gender classification … realistically reflects the fact that the sexes are not

similarly situated in certain circumstances.” Michael M., 450 U.S. at 469 (plurality).

   “The dispositive question, then, is whether [B.P.J.] has shown that a …

discriminatory purpose” animated the Act. Feeney, 442 U.S. at 276. At most, B.P.J.

will point to legislators’ statements that the Act “would affect those that changed

their sex after birth” but not other males, or the Act is about “two transgender girls”

who “were allowed to compete in state track and field meets in Connecticut.” Compl.

¶¶ 51, 56.

   But these statements reflect a desire to exclude biological males from women’s

sports—which has long been permitted—not “a bare … desire to harm a politically

unpopular group.” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 447 (1985).

Remember, “[d]iscriminatory purpose … implies more than intent as volition or

intent as awareness of consequences.” Feeney, 442 U.S. at 279 (cleaned up). B.P.J.’s

theory is that any statement promoting a biological distinction over a gender-identity


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distinctions is animated by animus. But “[w]hether one agrees or disagrees with the

goal of” excluding males from women’s sports, “that goal in itself … does not remotely

qualify for such harsh description.” Bray, 506 U.S. at 274. “This is not the stuff out of

which … ‘invidiously discriminatory animus’ is created.” Id.

II.    The Act does not violate Title IX.
      To succeed on a Title IX claim, B.P.J. must show that the Act discriminates

against B.P.J. “on the basis of sex.” Grimm, 972 F.3d at 616 (citation omitted). The

Act does no such thing: (A) Title IX deals with sex, not gender identity; (B) Grimm

does not change Title IX’s meaning, (C) the Act can exclude B.P.J. from girls’ sports

because B.P.J. is not similarly situated to girls in this context; and (D) Title IX

sometimes requires sex-separated teams in sports.

         A.     Title IX deals with sex, not gender identity.
      B.P.J. does not challenge sex-separated athletics under Title IX; instead, B.P.J.

asserts that Title IX requires schools to permit athletes to compete on the team that

matches their gender identity. Not true.

      B.P.J.’s argument depends on reading ‘gender identity’ into the word ‘sex’ under

Title IX. But gender identity and “transgender status are distinct concepts from sex.”

Bostock v. Clayton Cnty., 140 S. Ct. 1731, 1746–47 (2020). Even B.P.J.’s experts don’t

dispute that “gender cannot influence sex.” App.773–74 (81:18–82:5). Since the word

‘sex’ can’t fully encompass all of these terms at once, the question is which term Title

IX uses when it prohibits discrimination “on the basis of sex.” 20 U.S.C. § 1681(a).

      Because “sex” is not defined in the statute, it should “be interpreted as taking [its]

ordinary, contemporary, common meaning.” Sandifer v. U.S. Steel Corp., 571 U.S.

220, 227 (2014) (citation omitted). In 1972, the ordinary meaning of “sex” was “one of

the two divisions of organic esp. human beings respectively designated male or

female.” Sex, WEBSTER’S NEW INTERNATIONAL DICTIONARY (3d ed. 1968). The Supreme




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Court has similarly described “sex” as “an immutable characteristic determined

solely by the accident of birth.” Frontiero, 411 U.S. at 686.

   Title IX’s text reinforces this biological sense, not a “multifaceted” sense. Compl.

¶ 19. Throughout the statute, the term is used as a binary concept, encapsulating

only male and female. For example, Title IX allows schools in some cases to change

“from being an institution which admits only students of one sex to being an

institution which admits students of both sexes.” 20 U.S.C. § 1681(a)(2) (emphases

added). Title IX also exempts “father-son or mother-daughter activities … but if such

activities are provided for students of one sex, opportunities for reasonably

comparable activities shall be provided for students of the other sex.” 20 U.S.C.

§ 1681(a)(8) (emphases added).

   If sex included concepts like a person’s gender identity, many Title IX exemptions

would not make sense. For example, Title IX exempts institutions “traditionally”

limiting their admissions to “only students of one sex,” 20 U.S.C. § 1681(a)(5);

sororities and fraternities “traditionally … limited to persons of one sex,”

§ 1681(a)(6)(B); “living facilities for the different sexes,” § 1686; “separation of

students by sex within physical education classes” for sports whose major activity

involves bodily contact, 34 C.F.R. § 106.34(a)(1); and human sexuality classes and

choirs separated by “sex,” 34 C.F.R. § 106.34. If sex includes gender identity, these

provisions would permit discrimination based on stereotypes of how men and women

should behave and appear. See supra § I.D. (outlining this argument). That makes

little sense. These exemptions work only if sex throughout Title IX means biological

sex alone.

   So too in athletics. Title IX regulations correctly allow for sex-separated teams

“where selection for such teams is based upon competitive skill or the activity

involved is a contact sport.” 34 C.F.R. § 106.41(b)–(c). This carve out shows that sex-

separated teams are about fairness and safety—justifications based on biology, not


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gender identity. See supra § I.A–B; see also Doriane Lambelet Coleman, et al., Re-

Affirming the Value of the Sports Exception to Title IX’s General Non-Discrimination

Rule, 27 Duke J. Gender L. & Pol’y 69, 81–82 (2020) (making this point).

   B.P.J. agrees this separation is valid. So do courts based on the “average physical

differences between sexes.” Yellow Springs Exempted Vill. Sch. Dist. Bd. of Educ. v.

Ohio High Sch. Athletic Ass’n, 647 F.2d 651, 657 (6th Cir. 1981). This just shows that

B.P.J.’s method of dividing boys and girls is entirely unhinged from the physiological

differences that justify sex-separated sports in the first place.

      B.     Grimm does not change Title IX’s meaning.
   B.P.J. may argue that this Court must read Title IX to forbid gender-identity

discrimination under Grimm and its predecessor Bostock, and therefore West

Virginia must allow B.P.J. to compete on the girls’ team. Not so.

   Grimm simply said that gender-identity discrimination necessarily considers sex,

that gender-identity discrimination constitutes sex-discrimination under Title IX,

and that the school in Grimm made a distinction grounded in a sex stereotype.

Grimm, 972 F.3d at 616 (citing Bostock, 140 S. Ct. at 1741). But as already explained,

the Act here makes a biological distinction related to real physiological differences,

not gender identity or sex stereotypes. See supra § I.A. And Grimm did not consider,

much less conclude that all biological distinctions are sex stereotypes or that all

distinctions based on sex always constitute gender-identity discrimination.

   Nor can that be true. Otherwise, Title IX would forbid any sex distinction in

sports—even excluding men who identify as men from women’s team. Not even B.P.J.

agrees with that. Remember, unlike separate bathrooms designed to promote privacy,

separate sports teams aim to prevent displacement of females by males. The

justification for Title IX is inherently rooted in biological sex. Whatever application

Grimm has in other contexts, it cannot be applied to sports without undermining Title

IX’s entire purpose of promoting fairness for women.


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      C.     The Act can exclude B.P.J. from girls’ sports, because B.P.J. is
             not similarly situated to females in the context of sports.
   B.P.J. may argue that the Act still discriminates against B.P.J. “on the basis of

sex,” because the Act “could not exclude B.P.J. from a girls’ athletics team without

referencing her ‘biological sex.’” Order 12 (“Her sex ‘remains a but-for cause’ of her

exclusion under the law.”). But the first point doesn’t follow from the second.

   B.P.J. is not being discriminated against or “excluded from school athletics on the

basis of her sex,” Order 12, because B.P.J. may still compete on the boys’ team like

every other male. The Act only prevents B.P.J. from participating on certain women’s

teams, like it does for every other male. “Even if [B.P.J.] does not wish to pursue this

option,” Title IX doesn’t require access to one particular team when “there are other

… opportunities available to her.” Gregor v. W. Va. Secondary Sch. Activities Comm’n,

No. 2:20-cv-00654, 2020 WL 5997057, at *3 (S.D.W. Va. Oct. 9, 2020). That’s why this

Court denied a high school girl’s request for a preliminary injunction to play on the

boys’ soccer team—she had “other options for playing soccer like joining the girls’

team … or playing with a private club….” Id.

   To be sure, B.P.J. argues that the Act harms male athletes who identify as female

because they are being treated worse than “cisgender” girls. But that’s the wrong

comparator. “In the Title IX context, discrimination ‘means treating that individual

worse than others who are similarly situated.’” Grimm, 972 F.3d at 618 (citing

Bostock, 140 S. Ct. at 1740) (cleaned up). And as already explained, B.P.J. is not

similarly situated to females in sports. See supra § I.B.

   Bauer v. Lynch illustrates the point in a similar context. 812 F.3d 340, 342 (4th

Cir. 2016). There, a male applicant “flunked out of the FBI Academy after falling a

single push-up short of the thirty required of male Trainees.” Id. He sued under Title

VII because “but for” his sex, his score would have been enough. Id. at 350. But as

the Fourth Circuit pointed out, “[m]en and women simply are not physiologically the

same for the purposes of physical fitness programs.” Id. Instead, it held that physical-


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fitness tests that accommodate these “innate” differences are valid as long as they

impose equal burdens on men and women by “requiring the same level of physical

fitness of each” Id. at 348, 351.

   The same logic applies in athletics. Though B.P.J. identifies as a girl, B.P.J. is not

similarly situated to girls because of the average physiological differences between

the sexes. See supra § I.B. So like all biological males, the Act lets B.P.J. participate

on male teams. Like all biological males, the Act forbids B.P.J. from participating on

female teams. That way, females have an equal opportunity to compete. That is what

Title IX is all about.

       D.     Title IX sometimes requires sex-separated teams to
              accommodate the physiological differences between men and
              women.
   Title IX’s purpose is to provide women and girls with equal educational

opportunities that have historically been denied to them. See McCormick ex rel.

McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d 275, 286 (2d Cir. 2004). In the

context of athletics, “[m]ale athletes had been given an enormous head start.” Neal v.

Bd. of Trs. of Cal. State Univs., 198 F.3d 763, 767 (9th Cir. 1999). So Title IX’s

implementing regulations aimed “to level the proverbial playing field,” id. and

requires that schools “shall provide equal athletic opportunity for members of both

sexes.” 34 C.F.R. § 106.41(c).

   This sometimes requires schools to establish women-only sports to give women a

fair opportunity to compete. No one seriously disputes that males would displace

females if both sexes were forced to compete against one another in certain sports.

E.g. Clark I, 695 F.2d at 1131; Petrie, 394 N.E.2d at 862. And schools need to

accommodate women’s interests “in both the selection of the sports and the levels of

competition, to the extent necessary to provide equal athletic opportunity.” Horner v.

Ky. High Sch. Athletic Ass’n, 43 F.3d 265, 273 (6th Cir. 1994) (quoting Title IX of the




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Education Amendments of 1972; a Policy Interpretation; Title IX and Intercollegiate

Athletics, 44 Fed. Reg. 71,413 (Dec. 11, 1979) (codified at 45 C.F.R. pt. 86)).18

   “Athletic opportunities means real opportunities, not illusory ones.” Williams, 998

F.2d at 175 (cleaned up). So “the mere opportunity for girls to try out” for a team is

not enough if they don’t stand a realistic chance of making the roster because of

competition from men. Id.19 And the mere opportunity to participate also isn’t enough

if they don’t have a realistic chance to win scholarships or “enjoy the thrill of victory”

because the sport is dominated by men. See Mansourian v. Regents of Univ. of Cal.,

602 F.3d 957, 973 (9th Cir. 2010). After all, “[w]ho plays sports and doesn’t want to

win?” App. 513 (82:24–83:1). Equality of opportunity can’t exist in sports like cross-

country and track if women must compete against men.

                                     CONCLUSION
    “Sex is a biological concept.” App. 772 (74:13–14). It provides a clear line for

separating sports teams. Yet B.P.J. wants schools to separate sports based solely on

gender identity. But gender identity doesn’t say anything about athletic ability. So

separating sports based on gender identity doesn’t promote safety or fairness—the

reason we have sex separated teams in the first place. Instead, this proposal would

undermine our country’s valiant 50-year effort to level the playing field for biological

women in sports. And this would allow male athletes like Lia Thomas to keep

displacing females, removing them from the podium and sometimes even from entire

playing fields. These women and their hard work should not be sacrificed or erased


18 Many circuits have deferred to these policy documents in determining what

violates Title IX. See Miami Univ. Wrestling Club v. Miami Univ., 302 F.3d 608, 615
(6th Cir. 2002) (citing cases).

19 “Whether the opportunity for girls to try out for a boys’ team is a realistic athletic

opportunity with respect to that particular sport may turn on whether there are
real and significant physical differences between boys and girls in high school.”
Williams, 998 F.2d at 175.


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in the name of so-called progress. This Court should therefore affirm the legitimacy

of women-only sports and grant Armistead’s motion for summary judgment.




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  Respectfully submitted this 21st day of April, 2022.

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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION

B.P.J, by her next friend and           mother,
HEATHER JACKSON
                                      Plaintiff,
      v.
WEST VIRGINIA STATE BOARD OF
EDUCATION, HARRISON COUNTY BOARD                       Case No. 2:21-cv-00316
OF      EDUCATION,     WEST     VIRGINIA
SECONDARY         SCHOOL     ACTIVITIES
                                                       Hon. Joseph R. Goodwin
COMMISSION, W. CLAYTON BURCH in his
official capacity as State Superintendent,
DORA STUTLER in her official capacity as
Harrison County Superintendent, and THE
STATE OF WEST VIRGINIA
                                   Defendants,
      v.
LAINEY ARMISTEAD
                         Defendant-Intervenor.


                            CERTIFICATE OF SERVICE
     I, Brandon Steele, hereby certify that on April 21, 2022, I electronically filed

a true and exact copy of Defendant-Intervenor’s Memorandum in Support of

Motion for Summary Judgment with the Clerk of Court and all parties using the

CM/ECF system.


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